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     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                      OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,    Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                              [PROPOSED] ORDER GRANTING
                                               DEFENDANTS NSO GROUP
13                                             TECHNOLOGIES LIMITED AND
                 Plaintiffs,
                                               Q CYBER TECHNOLOGIES LIMITED’S
14                                             MOTION TO DISMISS FOR FORUM
           v.
                                               NON CONVENIENS
15
     NSO GROUP TECHNOLOGIES LIMITED
16   and Q CYBER TECHNOLOGIES LIMITED,
                                               Date:   October 26, 2023
                 Defendants.                   Time:   1:30 p.m.
17                                             Ctrm:   3
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                                               Action Filed: 10/29/2019
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     [PROPOSED] ORDER                                              Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH Document 215-11 Filed 09/08/23 Page 2 of 2




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            Defendants NSO Group Technologies Limited (“NSO”) and Q Cyber Technologies
 2
     Limited (“Q Cyber”) Motion to Dismiss for Forum Non Conveniens was heard at 1:30 p.m. on
 3
     October 26, 2023, in Courtroom 3 of the above-entitled Court, the Honorable Phyllis J.
 4
     Hamilton, Senior United States District Judge, presiding.
 5
            Having considered the motion and all memoranda of law and evidence filed in support of,
 6
     and in opposition to the motion, including the arguments of counsel, and GOOD CAUSE
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     THEREFOR APPEARING, it is hereby ORDERED that the Motion is GRANTED.
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 9          IT IS SO ORDERED.
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11
     DATED: __________, 2023                     ____________________________
12                                               The Honorable Phyllis J. Hamilton
                                                 Senior United States District Judge
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     [PROPOSED] ORDER                                                       Case No. 4:19-cv-07123-PJH
